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                                                                                   FILED

                   IN THE UNITED STATES DISTRICT COURT


                         FOR THE DISTRICT OF WYOMING                            9:34 am, 2/11/25

                                                                             Margaret Botkins
                                                                              Clerk of Court
 STEPHANIE WADSWORTH,
 individually and as parent and legal
 guardian of W.W., K.W., G.W., and L.W.,
 minor children, and MATTHEW
 WADSWORTH,

               Plaintiffs,
        vs.                                           Case No. 2:23-CV-118-KHR

 WALMART INC. and JETSON
 ELECTRIC BIKES, LLC,

               Defendants.


  ORDER ON DEFENDANTS’ MOTION TO BIFURCATE AND MOTIONS IN
                          LIMINE


       Before the Court are Defendants Walmart, Inc. and Jetson Electric Bikes, LLC’s

Motion to Bifurcate and Motions in Limine [ECF No. 137 & 139]. After carefully

reviewing the parties’ briefings, exhibits, and relevant law, the Court finds as follows:

                                      BACKGROUND

       In December 2021, Plaintiff Matthew Wadsworth purchased a portable electric

device commonly known as a “hoverboard” at a Walmart Inc. (“Walmart”) retail store in

Rock Springs, Wyoming. [ECF No. 1, at 8, ¶¶ 31–32]. The hoverboard was manufactured

by Jetson Electric Bikes, LLC (“Jetson”). See id. at 1–2, ¶ 1. On February 1, 2022,

emergency personnel was dispatched in the early morning hours to Plaintiffs’ residence in
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Green River, Wyoming in response to a house fire. Id. at 8, ¶ 33. Plaintiffs allege the fire

was caused by the hoverboard’s lithium-ion battery malfunctioning. Id. at 8, ¶ 34. Plaintiffs

and their minor children sustained various injuries as a result of the alleged malfunction.

Id. at 8–9, ¶¶ 35–38. On July 6, 2023, Plaintiffs filed a thirty-two count Complaint for

negligence, strict liability, breach of warranty, and loss of consortium. See [ECF No. 1].

                                     RELEVANT LAW

       District courts have “broad discretion when ruling on a motion in limine.” Infiesta-

Montano v. Cocca Dev. Ltd., No. 18-CV-4-R, 2019 WL 7630627, at *1 (D. Wyo. June 7,

2019). A motion in limine is “[a] pretrial request that certain inadmissible evidence not be

referred to or offered at trial.” Edens v. The Netherlands Ins. Co., 834 F.3d 1116, 1130

(10th Cir. 2016) (alteration in original) (quoting Black’s Law Dictionary (10th ed. 2014)).

Although a motion in limine is not mentioned in the Federal Rules of Evidence, the practice

stems from a district court’s inherent authority to manage the course of trials. Luce v.

United States, 469 U.S. 38, 41 n.4 (1984). The purpose of a motion in limine is to help the

district court exercise its duty to prevent the jury from hearing inadmissible evidence. Id.;

Fed. R. Evid. 103(d). Additionally, such evidentiary rulings can save time, cost, effort, and

preparation for parties at trial. United States v. Cline, 188 F. Supp. 2d 1287, 1291 (D. Kan.

2002), aff’d, 349 F.3d 1276 (10th Cir. 2003).

       However, “a court is almost always better situated during the actual trial to assess

the value and utility of evidence.” Wilkins v. Kmart Corp., 487 F. Supp. 2d 1216, 1218 (D.

Kan. 2007). A district should only exclude evidence on a motion in limine when the

evidence is “inadmissible on all potential grounds.” McCarty v. Liberty Mut. Ins. Co., No.

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15-CV-210-R, 2017 WL 676459, at *2 (D. Wyo. Feb. 3, 2017) (quoting Ind. Ins. Co. v.

Gen. Elec. Co., 326 F. Supp. 2d 844, 846 (N.D. Ohio 2004)). “Unless evidence meets this

high standard, evidentiary rulings should be deferred until trial so that questions of

foundation, relevancy and potential prejudice may be resolved in proper context.” Id.

(quoting Hawthorne Partners v. AT & T Tech., Inc., 831 F. Supp. 1398, 1400 (N.D. Ill.

1993)).

       District court rulings on motions in limine are not binding, and “the judge may

always change his mind during the course of a trial.” Ohler v. United States, 529 U.S. 753,

758 n.3 (2000). Thus, “[d]enial of a motion in limine does not necessarily mean that all

evidence contemplated by the motion will be admitted to trial. Denial merely means that

without the context of trial, the court is unable to determine whether the evidence in

question should be excluded.” McCarty, 2017 WL 676459, at *2 (quoting Ind. Ins. Co.,

326 F. Supp. 2d at 846).

                                  RULING OF THE COURT

       As a preliminary matter, it appears both parties have requested oral arguments on

these motions. The Court denies the parties’ requests because the briefings are sufficient.

U.S.D.C.L.R. 7.1(a) (“Motions will be decided on the submissions unless oral argument,

at the Court’s discretion, is ordered.”). The Court also notes that Plaintiffs originally filed

Motions in Limine. [ECF No. 141]. However, there were questions as to whether the cases

cited therein were generated by artificial intelligence, prompting the Court to Order

Plaintiffs’ attorneys to show cause. See [ECF No. 156]. Plaintiffs then withdrew their

Motions in Limine. [ECF No. 158].

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          Turning to the merits of the instant filings, the Court denies Defendants’ Motion to

Bifurcate. The Court grants in part and denies in part Defendants’ various Motions in

Limine. Each Motion will be addressed in turn.

    I.        Defendants’ Motion to Bifurcate

          Defendants move to bifurcate the liability and damages phases of trial. [ECF No.

138, at 3]. First, Defendants argue that bifurcation will result in judicial economy because

the Court, jury, and parties will save time and expense. Id. at 4–5. Second, Defendants

claim that bifurcation of issues would avoid undue prejudice because Plaintiffs’ injuries

will inflame the jury’s passions and have no bearing on liability. Id. at 5–7. Third,

Defendants contend that bifurcation will not prejudice the parties. Id. at 7. 1

          Plaintiffs respond that bifurcation is not warranted and requests this case be tried as

one. [ECF No. 148, at 1–2]. First, Plaintiffs argue that judicial economy favors

consolidation. Id. at 2–5. Second, Plaintiffs claim they will be prejudiced because

bifurcation would disregard the human experiences faced by Plaintiffs. Id. at 5. Third,

Plaintiffs contend that bifurcation would rob the jury of context to determine whether

Defendants actions were reasonable. Id. at 5–6. Therefore, Plaintiffs request Defendants’

Motion be denied. Id. at 6.

          District courts have considerable discretion in conducting trials. Angelo v.

Armstrong World Indus., Inc., 11 F.3d 957, 964 (10th Cir. 1993). Under the Federal Rules

of Civil Procedure, courts may bifurcate trials for separate issues or claims “[f]or


          1
          Defendants also requested a third phase for punitive damages, [ECF No. 138, at 7–8], but this request is
rendered moot by this Court’s Order Granting in Part and Denying in Part Defendants’ Motion for Summary Judgment.
[ECF No. 143, at 20–23] (granting summary judgment in favor of Defendants on punitive damages).

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convenience, to avoid prejudice, or to expedite and economize[.]” Fed. R. Civ. P. 42(b).

Accordingly, a decision to bifurcate trial will not be disturbed unless the district court

abused its discretion. Angelo, 11 F.3d at 964.

       “The moving party must demonstrate the need for a separate trial, as a single trial

normally lessens the expense and inconvenience of litigation.” Aragon v. Allstate Ins. Co.,

185 F. Supp. 3d 1281, 1285 (D.N.M. 2016). The advisory committee’s notes for Rule 42

specifically state that “separation of issues for trial is not to be routinely ordered.” Fed. R.

Civ. P. 42 advisory committee’s notes to 1966 amendments. Thus, “the presumption is that

the plaintiff, in a typical case, should be allowed to present her case in the order she

chooses.” Patten v. Lederle Lab’ys, 676 F. Supp. 233, 238 (D. Utah 1987). Bifurcation

should not be ordered unless it is clearly necessary. Christy v. Travelers Property and

Casualty Ins. Co., No. 13-CV-0281, 2013 WL 12159449, at *1 (D.N.M Aug. 29, 2013).

On one hand, “[b]ifurcation is not an abuse of discretion if such interests favor separation

of issues and the issues are clearly separable.” Angelo, 11 F.3d at 964. On the other hand,

“bifurcation is an abuse of discretion if it is unfair or prejudicial to a party.” Id.

       This Court finds that Defendants have failed to show that separation is necessary

under the circumstances. Bifurcation is appropriate where there is an extremely complex

case and separation can aid efficiency. Id. (“Courts have often used bifurcation to deal with

massive product liability litigation.” (emphasis added)). After this Court’s denial of

punitive damages, the remaining claims consist of relatively standard issues that do not

present any particular complexity or threat of prejudice, such that two separate phases of

trial are necessary. Cf. Martin v. Bell Helicopter Co., 85 F.R.D. 654, 656–57 (D. Colo.

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1980) (allowing bifurcation in products liability where the plaintiffs resided in numerous

states and both Colorado and California strict liability law applied).

         Defendants fail to show the sort of prejudice required that would necessitate

separate trials. See Belisle v. BNSF Ry. Co., 697 F. Supp. 2d 1233, 1251 (D. Kan. 2010).

The danger that a jury might be inflamed by evidence of injuries is no greater here than in

any normal personal injury case. Any such issues can be remedied with objections and jury

instructions, as is the norm in most cases of this type. Therefore, the Court denies

Defendants’ Motion to Bifurcate.

   II.      Defendants’ Motions in Limine

         Next, Defendants make arguments in support of five motions in limine. See [ECF

No. 140]. First, Defendants seek to preclude any evidence related to the Rogue model

hoverboard, the Rogue model recall, or any other alleged incidents involving the Rogue

model. Id. at 2–6. Second, Defendants seek to exclude evidence of other incidents. Id. at

6–10. Third, Defendants seek to bar evidence of a U.S. Consumer Product Safety

Commission (“CPSC”) hoverboard safety alert. Id. at 10–12. Fourth, Defendants seek to

bar any claims or evidence of potential future medical claims for some Plaintiffs. Id. at 12–

14. Fifth, Defendants seek to bar Golden Rule or Reptile Theory approaches during trial.

Id. at 14–16. Plaintiffs request all Motions be denied, with the exception of Motion in

Limine No. 4 as to Matthew Wadsworth. See [ECF No. 149]. The Court will address each

Motion.




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          A. Motion in Limine 1: Rogue Recall

       Defendants move to exclude any evidence of other alleged prior incidents related to

the Rogue model hoverboard or the Rogue model recall. [ECF No. 140, at 2–6]. The Rogue

model is one of Jetson’s hoverboards. In April 2022, the Rogue model allegedly caught on

fire resulting in the deaths of two girls (hereinafter “Kaufman incident”). That suit settled.

See Kaufman v. Jetson Elec. Bikes, LLC, No. 22-CV-3765, 2024 WL 659490, at *1 (E.D.

Pa. Feb. 16, 2024). On March 30, 2023, Jetson and the CPSC initiated a recall on the Rogue

model. [ECF No. 123-9]. It is undisputed that the Plasma model, not the Rogue, was the

hoverboard involved with the instant case. See [ECF No. 1].

       Defendants argue this evidence is irrelevant and unfairly prejudicial. [ECF No. 140,

at 2–6]. Defendants’ corporate representative, Sam Husain, testified at his deposition that

there are significant differences between the Plasma and Rogue, namely: (1) a different

combination of component parts; (2) different manufacturers; and (3) different lithium-ion

battery components. Id. at 4–5. Defendants contend that this testimony is uncontroverted

by Plaintiffs’ expert, Derek King. Id. at 5. Defendants also note that the Kaufman incident

and subsequent recall occurred after the events in this case. Id.

       Plaintiffs respond that the events are similar enough to warrant admission. [ECF No.

149, at 3]. Plaintiffs highlight that Mr. Husain could not state the specific differences

between the lithium-ion battery packs in the Rogue and Plasma and said the packs came

from the manufacturer. Id. Thus, Plaintiffs contend this evidence is relevant to show

existence of defect and notice. Id. at 3–5.



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       “In product liability actions, the occurrence of similar accidents or failures involving

the same product has great impact on a jury, as it tends to make the existence of the defect

more probable than it would be without the evidence.” Four Corners Helicopters, Inc. v.

Turbomeca, S.A., 979 F.2d 1434, 1440 (10th Cir. 1992). A party seeking to introduce

evidence of other acts must demonstrate substantial similarity between the incidents.

Wheeler v. John Deere Co., 862 F.2d 1404, 1407 (10th Cir. 1988). “The degree of similarity

required varies depending on how the evidence is used.” U.S. Aviation Underwriters, Inc.

v. Pilatus Bus. Aircraft, Ltd., 582 F.3d 1131, 1147 (10th Cir. 2009) (citing Wheeler, 862

F.2d at 1407). “When the evidence is offered to demonstrate that a highly dangerous

condition existed, a high degree of substantial similarity is required.” In re Cooper Tire &

Rubber Co., 568 F.3d 1180, 1191 (10th Cir. 2009). However, when the evidence is offered

to show notice or awareness of defect, that standard is relaxed. Id. The proponent of

evidence bears the burden of proving substantial similarity. Morgan v. Baker Hughes Inc.,

728 F. App’x 850, 856 (10th Cir. 2018) (citing Wheeler, 862 F.2d at 1407).

       Typically, courts reject other acts evidence to show prior notice when the other acts

occurred after the events. See Julander v. Ford Motor Co., 488 F.2d 839, 846 (10th Cir.

1973) (reversing the district court’s admission of at least complaints that occurred after the

accident); Smith v. Ingersoll-Rand Co., 214 F.3d 1235, 1248 (10th Cir. 2000) (“In this case,

four of the six incidents … were incorrectly admitted to show notice, as they occurred after

the incident at issue here.”); Heinrich v. Master Craft Eng’g, Inc., No. 13-CV-01899-PAB-

GPG, 2016 WL 11785674, at *2 (D. Colo. July 12, 2016) (“[I]ncidents subsequent to

plaintiff’s injury cannot be admitted to establish notice.”). However, subsequent incidents

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are not always precluded in order to prove the existence of a defect. Smith, 214 F.3d at 1248

(admitting evidence of other acts for existence of defect and evidence of mental state for

punitive damages).

        Here, the Kaufman incident and Rogue recall occurred after the instant case.

Because subsequent other acts are generally inadmissible to show notice, the Court will

not allow the Rogue recall and Kaufman incident to be used for that purpose and turn to

whether Plaintiffs can demonstrate a high degree of similarity for the existence of defect

theory.

        Plaintiffs argue that their theory of the existence of defect is similar between the

incidents because both involve the alleged failure of lithium-ion battery packs. [ECF No.

149, at 3]. For support, Plaintiffs note that Defendants’ corporate representative testified

the lithium-ion battery packs were from the same manufacturer. [ECF No. 149-1, at 3]. He

also testified that the battery pack in the Plasma had a slightly higher capacity than the

Rogue. Id. at 5. Conversely, Defendants note that, even though it was the same

manufacturer, the Rogue has a different model of battery pack than the one in the Plasma. 2

[ECF No. 140, at 4].

        “Differences in the nature of the defect alleged may affect a determination whether

the accidents are substantially similar.” Ponder v. Warren Tool Corp., 834 F.2d 1553, 1560

(10th Cir. 1987). However, the products need not be identical. Smith, 214 F.3d at 1248.

Thus, “[a]ny differences in the accidents not affecting a finding of substantial similarity go


        2
          Similar to how the Rogue and Plasma are different models of Jetson hoverboards, Defendants claim the
battery packs are different models from the same manufacturer.

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to the weight of the evidence.” Wheeler, 862 F.2d at 1408 (citing Jackson v. Firestone Tire

& Rubber Co., 788 F.2d 1070, 1083 (5th Cir. 1986)). Accordingly, the Court finds

Plaintiffs have demonstrated sufficient similarity between the events, and Defendants’

purported differences can be explored on cross-examination.

         Defendants’ argument centers around the Rogue and Plasma being different models.

Courts have excluded evidence of other models’ recalls, finding they lack substantial

similarity. E.g., Tr. Dep’t of First Nat’l Bank of Santa Fe, Colo. Branch v. Burton Corp.,

No. 11-CV-01629-REB-CBS, 2012 WL 3275900, at *1 (D. Colo. Aug. 9, 2012). However,

the key distinguishing factor between the Burton Corp. case and this one is that the

testimony of Burton Corp.’s corporate representative demonstrated in “sufficient detail the

significant differences between the construction and design of the two helmets, as well as

the standards applicable to each.” Id. The court was convinced that the plaintiff’s argument

for substantial similarity was “akin to suggesting that a Mercedes Benz and a Ford F150

truck are similar because they both have tires.” Id. at *1 n.1.

        Conversely, Mr. Husain states the difference between the battery packs are that: (1)

the Plasma’s battery pack has a slightly higher capacity than the Rogue’s, [ECF No. 149-

1, at 5]; and (2) even though the lithium-ion battery manufacturer was the same, the battery

cell manufacturer is different, [ECF No. 140-2, at 11]. 3 Mr. Husain does not make it clear



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           Batteries have different components, including a cell. A cell appears to be the single unit as part of the
whole battery pack. For example, a single AA battery is one cell, and battery packs contain multiple cells. E.g.,
Definition of a Battery Cell, RV Magnetics, https://www.rvmagnetics.com/dictionary/battery-cell. Even though the
battery packs were manufactured by the same manufacturer, Defendants contend the induvial cells within those packs
were manufactured by different manufacturers. Without more information from Defendants, the Court views this
argument as akin to saying the products were different because one used, for example, Duracell versus Energizer. The
difference is immaterial at this time.

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that these differences are significant. Further, other courts have allowed other acts

involving different models. See Four Corners Helicopters, Inc., 979 F.2d at 1439–40

(holding evidence of other acts were admissible for existence of defect and notice, even

though some prior incidents involved a different model of engine with a less secure fixation

method, in a case dealing with screws becoming loose in a helicopter).

         Most importantly, the events are substantially similar in that both involve a house

fire where the alleged point of origin was a Jetson hoverboard and the causes being lithium-

ion battery failures. [ECF No. 123-9, at 5]. Because Mr. Husain does not describe the

differences with particularity, the Court cannot say these differences are significant. While

Plaintiff carries the burden of showing substantial similarity, they need not show the

models are identical. Therefore, the Court finds that the Kaufman incident and Rogue recall

are admissible provided Plaintiffs can lay sufficient foundation. See Burnett Enterprises,

Inc. v. Alltech, Inc., No. 13-CV-273-SWS, 2015 WL 11108738, at *5 (D. Wyo. Jan. 14,

2015).

         Further, the probative value of the existence of a defect is not substantially

outweighed by risk of unfair prejudice to warrant exclusion under Rule 403. See Wheeler,

862 F.2d at 1408–09. However, the Court will exclude mention of the deaths involved in

the Kaufman incident. The evidence is being admitted for the limited purpose of showing

existence of a defect, and the deaths are marginally relevant and outweighed by unfair

prejudice. To avoid any improper inferences from the Kaufman incident, the Court will

instruct the jury on the proper limited purpose for which this evidence is being received.

Therefore, Defendants’ Motion in Limine No. 1 is granted in part and denied in part.

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       Further, Defendants have not brought any other potential Rogue evidence to the

Court’s attention other than the Kaufman incident and the recall. Should there be more

evidence, the Court will address any other Rogue incidents on a case-by-case basis.

          B. Motion in Limine 2: Other Incidents

       Defendants also seek to exclude evidence pertaining to another incident involving a

fire in Oklahoma, leading to the state court case of “USAA General Indemnity Co. a/s/o

Donwell v. Jetson Electric Bikes LLC, et. al.” [ECF No. 140, at 6] (hereinafter “Donwell

incident”). This case appears to only concern property damage. See [ECF No. 130-10].

Unlike the Kaufman incident, the Donwell incident occurred over a year before the instant

matter and involved the Plasma model (same model as this case). See id. In addition, there

is another incident, but according to Defendants, it was “caused by an RC car powered

battery and did not involve a Jetson product.” [ECF No. 140, at 6].

       This type of evidence also implicates the “substantial similarity” test, as outlined

above. First, as it relates to the Donwell incident, Defendants argue that the incidents are

different because the Donwell incident involved a lithium-ion battery charging at the time.

[ECF No. 140, at 6]. In this case, there has been “testimony that [the hoverboard] had been

charging at the end of the day’s use and prior to the fire,” but according to Plaintiffs’ fire

origin expert, “there were no electrical plugs in that outlet.” [ECF No. 140-5, at 2]. Thus,

it appears Plaintiffs have mixed testimony on whether the outlet was plugged in, but their

own expert believes it was not charging at the time. Id.

       Nevertheless, the Donwell incident involved a lithium-ion battery failure with the

same model hoverboard as the one implicated here. Accordingly, the Court finds the events

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are substantially similar. As noted above, the degree of similarity required to show notice

of defect is “relaxed.” Wheeler, 862 F.2d at 1407–08. Because the Donwell incident

occurred before the instant action, Plaintiffs do not need to meet the higher degree of

similarity as required to show the existence of defect. See id. Further, Plaintiffs meet their

burden to show existence of a defect because the difference in charging versus not charging

goes to the weight of the evidence. Id. at 1408. However, the one uncontroverted incident

that involved an RC car battery is inadmissible because it does not involve a lithium-ion

battery failure, rendering it not relevant.

       In addition, the probative value of the Donwell incident is not substantially

outweighed by the risks listed in Rule 403. Defendants argue that it is unfairly prejudicial

and could cause jury confusion and a needless waste of time by potentially litigating the

merits of the other incidents. [ECF No. 140, at 9]. First, the Court finds that the Donwell

incident is not unfairly prejudicial. See Wheeler, 862 F.2d at 1408–09. The Court further

finds that it will not waste time or confuse jurors.

       At this juncture, the Court will allow admission of the Donwell incident. Plaintiffs

may examine witnesses about the similarities, and Defendants can highlight the differences

between the other incidents. Without the context of trial, it may be difficult to see whether

this would waste time or confuse the jurors. Nevertheless, brief examination and proper

limiting instructions will help resolve Defendants’ concerns. Cf. C.A. Assocs. v. Dow

Chem. Co., 918 F.2d 1485, 1490 (10th Cir. 1990) (affirming the district court’s ruling that

limited evidence of “well over the 21 separate structures” in a products liability action



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because “the potential for delay and confusion could multiply with each additional building

offered into evidence”).

       Therefore, Defendants’ Motion in Limine No. 2 is granted in part and denied in part.

It is granted with respect to the other incident involving an RC car battery. It is denied with

respect to the Donwell incident.

           C. Motion in Limine 3: CPSC Safety Alert

       Next, Defendants request exclusion of a CPSC Safety Alert from 2017. [ECF No.

140, at 10]. The CPSC issued a “Hoverboard Safety Report” after a March 2017 house fire

where a ten-year-old girl and two-year-old girl died. [ECF No. 140-7, at 1]. Therein, CPSC

recommended for users to be cautious about charging hoverboards. Id.

       Defendants argue the CPSC Safety Alert is inadmissible hearsay, not relevant, and

unfairly prejudicial. [ECF No. 140, at 11–12]. Plaintiffs argue that it is not hearsay because

it is not offered for its truth, but rather to show notice. [ECF No. 149, at 7]. Plaintiffs

alternatively argue it would fall under the public records exception for hearsay. Id. at 7–8.

Last, Plaintiffs argue it is relevant for notice. Id. at 8.

       Statements offered to show notice are not hearsay because they are not offered for

their truth. Marsee v. U.S. Tobacco Co., 866 F.2d 319, 325 (10th Cir. 1989) (affirming the

district court’s admission of scientific articles to show the plaintiff had notice of the

dangers of using a product). Thus, the Court finds that admission of the CSPC Safety Alert

would not constitute hearsay when admitted for that purpose.

       However, the Court finds it is marginally relevant and risks unfair prejudice. The

CSPC Safety Alert is incredibly vague. See [ECF No. 140-7]. It does not specify which

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brand or manufacturer made the hoverboard that resulted in the deaths of two young girls.

While it appears to implicate batteries generally, there is no mention of lithium-ion

batteries. The Kaufman and Donwell incidents can be used to show notice, and they are

sufficiently similar to the instant case. However, the CSPC Safety Alert lacks a sufficient

nexus, and the deaths of two young girls in an incident where Defendants (based on the

record) played no part is unfairly prejudicial. Therefore, the Court will exclude the

evidence under Rule 403, and Defendants’ Motion in Limine No. 3 is granted.

          D. Motion in Limine 4: Potential Future Medical Claims

       Next, Defendants move to preclude Plaintiffs from attempting to solicit testimony

about future medical expenses for Matthew Wadsworth and three of the minor children,

K.W, G.W., and L.W. [ECF No. 140, at 12–14]. Defendants anticipate Plaintiffs may try

to use non-retained expert, Mindy Tollefson, to elicit testimony about future medical

claims. Id. at 13. Plaintiffs do not expect “to elicit from Ms. Tollefson the frequency of any

future need for mental health care/counseling.” [ECF No. 149, at 9]. Plaintiffs acknowledge

that Ms. Tollefson will not be testifying as to Matthew Wadsworth. Id. However, Plaintiffs

contend Ms. Tollefson is allowed to testify to the results and diagnoses of the children and

how she would expect those results and diagnoses to affect them based on her background,

training, and experience. Id.

       While Ms. Tollefson can testify to the results and diagnoses, she will not be

permitted to testify about future medical need for Matthew Wadsworth, K.W., G.W., and

L.W. She will also not be permitted to make any opinion based on her background, training,

and experience, including how she would expect the results and diagnoses to affect them

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in the future. Under Fed. R. Civ. P. 26(a)(2)(C), a party seeking to elicit testimony from a

non-retained expert must provide: “(i) the subject matter on which the witness is expected

to present evidence under Federal Rule of Evidence 702, 703, or 705; and (ii) a summary

of the facts and opinions to which the witness is expected to testify.” A “summary” is

defined as “an abridgment of a fuller accounting of material.” Vincent v. Nelson, 51 F.4th

1200, 1216 (10th Cir. 2022) (alteration and quotations omitted).

       Here, Plaintiffs failed to disclose the subject matter or a summary of facts or

opinions for Ms. Tollefson. See [ECF No. 73, at 5]. Plaintiffs simply list her as a non-

retained expert with no other information. See id. Thus, Plaintiffs failed to comply with

their discovery obligations, and the Court will determine if that error was substantially

justified or harmless.

       A party who fails to disclose discoverable information may be barred from using

the information or witness unless the failure was substantially justified or harmless. Fed.

R. Civ. P. 37(c)(1). “Courts have broad discretion when determining whether a Rule 26(a)

violation is justified or harmless.” Wapiti Corp. v. Thorcon Shotcrete & Shoring, LLC, No.

22-CV-175-F, 2023 WL 4893560, at *2 (D. Wyo. May 18, 2023). In considering whether

a failure is substantially justified or harmless, courts look to four factors: “(1) the prejudice

or surprise to the party against whom the testimony is offered; (2) the ability of the party

to cure the prejudice; (3) the extent to which introducing such testimony would disrupt the

trial; and (4) the moving party’s bad faith or willfulness.” Woodworker’s Supply, Inc. v.

Principal Mut. Life Ins. Co., 170 F.3d 985, 993 (10th Cir. 1999). The party who fails to



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comply bears the burden of demonstrating these four factors weigh in its favor. See Cline

v. Sunoco, Inc. (R&M), 479 F. Supp. 3d 1148, 1167 (E.D. Okla. Aug. 17, 2020).

       Plaintiffs fail to demonstrate how their error was substantially justified or harmless.

The Court finds Defendants would be surprised by such testimony for two reasons. First,

Defendants contend that, when the parties met and conferred on these issues, “Plaintiffs’

counsel was somewhat non-committal” on whether Ms. Toffelson would testify to future

medical expenses. [ECF No. 140, at 12]. Second, Ms. Toffelson testified at her deposition

that she would be speculating as to what future care the children may need and she did not

know how this event would impact them moving forward. [ECF No. 140-8, at 18–19].

Additionally, because of Plaintiff’s nondisclosure, Defendants have been deprived of a

meaningful way to rebut such testimony. With trial less than a month away, Defendants

cannot feasibly obtain a rebuttal expert.

       As to factors three and four, the Court does not find that it would disrupt the trial or

Plaintiffs exercised bad faith. As the Court noted in its Order Granting in Part and Denying

Part Defendants’ Motion for Summary Judgment:

       Plaintiffs appear to misinterpret the Court’s Initial Pretrial Order. [ECF No.
       123, at 14] …. While the Court reminded the parties that non-retained
       treating physicians giving opinion testimony still must be disclosed as
       experts, see [ECF No. 48, at 4]; [ECF No. 78, at 2], nothing in either Order
       altered a party’s obligations under Fed. R. Civ. P. 26(a)(2)(C) for … non-
       retained experts. In fact, the Amended Scheduling Order cited Vincent v.
       Nelson, 51 F.4th 1200, 1213-22 (10th Cir. 2022) as a reference for how
       parties should disclose both retained and non-retained experts.

[ECF No. 143, at 14 n.7]. Nevertheless, the Court finds that the first two factors weigh

heavily in favor of excluding Ms. Toffelson’s opinion testimony in regards to future


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medical care. Therefore, the Court concludes it would be prejudicial to Defendants for Ms.

Toffelson to opine on potential future medical care. Therefore, Defendants’ Motion in

Limine No. 4 is granted.

           E. Motion in Limine 5: Golden Rule or Reptile Theory Arguments

        Last, Defendants seek to exclude any golden rule or reptile strategy arguments.

[ECF No. 140, at 14–16]. Plaintiffs argue that Defendants’ Motion is too vague and it is

permissible to use golden rule or reptile strategy arguments for liability. [ECF No. 149, at

10].

        This Court will follow its previous ruling when addressing “Reptilian” arguments:

        Both the golden-rule argument and reptile strategy are tactics used by a
        plaintiff’s counsel to persuade the jury enter a verdict in the plaintiff’s favor.
        The golden-rule argument is “[a] jury argument in which the lawyer asks the
        jurors to reach a verdict by imagining themselves or someone they care about
        in the place of the injured plaintiff[.]” Golden-rule argument, Black’s Law
        Dictionary (11th ed. 2019). When using a reptile strategy, the plaintiff’s
        counsel appeals to the reptilian or more primitive aspect of jurors’ brains by
        activating the jurors’ survival instincts in the hope the jurors will make
        decisions based on instinct or fear rather than logic and reasoning. John
        Wilinski & Chistina Marinaks, The Reptile Brain Strategy: Why Lawyers Use
        it and How to Counter It, Litigation Insights (Mar. 3, 2016),
        https://www.litigationinsights.com/reptile-brain-strategy-lawyers-how-to-
        counter/. These tactics involve focusing on the danger to the community that
        the defendants pose and empowering the jury to improve the community’s
        safety. Id.

        Although Tenth Circuit precedent clearly holds that a party may not use the
        golden-rule argument in the context of damages, such arguments are not
        improper with respect to the issue of liability. Moody v. Ford Motor Co., 506
        F. Supp. 2d 823, 836 (N.D. Okla. 2007) (citing Shultz v. Rice, 809 F.2d 643,
        651–52 (10th Cir. 1986)). And while golden-rule arguments are not expressly
        prohibited in regard to liability, courts generally do not permit an attorney to
        “explicitly request a jury to place themselves in the plaintiff’s position and
        do unto him as they would have him do unto them.” Id. (quoting Stokes v.
        Delcambre, 710 F.2d 1120, 1128 (5th Cir. 1983)). Golden-rule arguments

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 are improper because they “encourage[ ] the jury to depart from neutrality
 and to decide the case on the basis of personal interest and bias rather than
 on the evidence.” Id. (quoting Blevins v. Cessna Aircraft Co., 728 F.2d 1576,
 1580 (10th Cir. 1984)).

 In light of the concerns regarding a lack of juror neutrality, Plaintiff is
 prohibited from offering any golden-rule arguments regarding damages or
 offering any golden-rule testimony or argument as a means for undue
 emotional appeal to the jury. Shotts v. GEICO Gen. Ins. Co., No. CIV-16-
 1266-SLP, 2018 WL 4832625, at *2 (W.D. Okla. July 12, 2018) (prohibiting
 parties from raising golden-rule arguments in an effort present undue
 emotional appeal to the jury). Specifically, Plaintiff may not: ask the jury to
 award damages as if the jurors themselves had been harmed; ask the jury to
 consider punishment as a factor in addressing liability; ask that the jury send
 a message; or ask the jury to consider injuries to non-parties, such as the jury
 or the jury’s family. Moody, 506 F. Supp. 2d at 835–38.

 This ruling, however, does not constitute a blanket prohibition with respect
 to liability. It may be permissible for Plaintiff to engage in a reptile strategy
 by asking the jury to consider what a reasonable person in the community
 would do or would have done in addressing Defendants’ alleged negligence.
 Novotny v. Weatherford Int'l, LLC, No. 1:16-CV-260, 2018 WL 4051596, at
 *4 (D. N.D. Mar. 14, 2018) (denying motion in limine to exclude reptile trial
 strategies). The applicable standard of care, and whether Defendants’
 conduct conformed to that standard are directly at issue in this case, and
 community standards may be relevant to consider these issues.

 To avoid any concern that the jury will base its decision on emotional appeal
 or arguments from counsel, rather than the evidence presented to it, the Court
 will instruct the jury to only consider the proof admitted and the law the Court
 gives to the jury. The Court will not permit the parties’ counsel to incite the
 jury to render a verdict based on any other consideration, including the
 jurors’ passions and prejudices. K.C. ex rel. Calaway v. Schucker, No. 02-
 2715-STA-cgc, 2013 WL 4505797, at *5 (W.D. Tenn. Aug. 22, 2013)).
 Notwithstanding the impermissible golden-rule arguments addressed above,
 Defendants cannot prevent Plaintiff from asking the jury to consider
 community safety standards and whether Defendants’ conduct conformed to
 those standards. Bostick v. State Farm Mut. Auto. Ins. Co., No. 8:16-CV-
 1400-T-33AAS, 2017 WL 3123636, at *2 (M.D. Fla. July 21, 2017))
 (concluding that counsel asking the jury to consider community safety
 standards “is fundamental to the underpinnings of tort law.”).



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Infiesta-Montano v. Cocca Dev. Ltd., No. 18-CV-4-R, 2019 WL 7630627, at *6–7 (D.

Wyo. June 7, 2019).

       Defendants’ Motion in Limine regarding “Reptilian” and “Golden Rule” arguments

is granted in part and denied in part. Plaintiffs may not make any golden-rule arguments

regarding damages or as a means of undue emotional appeal to the jury. However, there

will be no blanket ruling excluding all “reptile arguments.” The jury will be instructed to

base any decision on the evidenced presented and the law given by the Court, and not on

the statements or arguments of counsel. K.C. ex rel. Calaway v. Schucker, No. 02-2715-

STA-CGC, 2013 WL 4505797, at *5 (W.D. Tenn. Aug. 22, 2013). “[T]he Court will not

tolerate any attempt by either party to incite the jury to render a verdict based on any other

consideration, including the passions and prejudice of the jurors.” Id. Either party may

object to any “Reptilian” arguments made by counsel to garner improper emotional appeal

or to inflame the jury.

                                       CONCLUSION

       In sum, the court grants in part and denies in part Defendants’ Motions in Limine

No. 1 because Plaintiffs have demonstrated the Kaufman incident and recall incidents are

substantially similar to show the existence of defect, but evidence of the deaths are not

admissible. The Court grants in part and denies in part Defendants’ Motion in Limine No.

2 because the Donwell incident is substantially similar for notice, but the incident involving

an RC car battery is not substantially similar. The Court grants Defendants’ Motions in

Limine No. 3 because the CPSC report is vague, marginally relevant, and unfairly

prejudicial. The Court also grants Defendants’ Motions in Limine No. 4 because Plaintiffs

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failed to demonstrate their failure to disclose was substantially justified or harmless. The

Court grants in part and denies in part Defendants’ Motion in Limine No. 5 because it

cannot issue a blanket ruling on all “reptile” theory arguments.

       NOW, THEREFORE IT IS ORDERED Defendants Walmart, Inc. and Jetson

Electric Bikes, LLC’s Motion to Bifurcate is DENIED.

       IT IS FURTHER ORDERED Defendants’ Motion in Limine No. 1 is GRANTED

IN PART and DENIED IN PART.

       IT IS FURTHER ORDERED Defendants’ Motion in Limine No. 2 is GRANTED

IN PART and DENIED IN PART.

       IT IS FURTHER ORDERED Defendants’ Motion in Limine No. 3 is GRANTED.

       IT IS FURTHER ORDERED Defendants’ Motion in Limine No. 4 is GRANTED.

       IT IS FURTHER ORDERED Defendants’ Motion in Limine No. 5 is GRANTED

IN PART and DENIED IN PART.

       IT IS FURTHER ORDERED that Plaintiffs shall inform their witnesses of the scope

of their testimonies prior to taking the stand.

       Dated this 11th day of February.




                                    Kelly H.
                                          H Rankin
                                    United States District Judge




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